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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA


                                           *
THE UNITED STATES OF AMERICA                          Crim. No. 3:13-cr-1
                                            *
       v.
                                            *
THOMAS EARL FAULLS
                                            *

                         * * * * *
    MOTION TO AMEND PENDING PETITION UNDER 28 U.S.C. § 2255

      Petitioner, Thomas Earl Faulls, through undersigned counsel, respectfully

moves the Court to amend his pending petition under 28 U.S.C. § 2255 with the

additional arguments for relief presented herein. Specifically, Mr. Faulls first

requests that the Court set aside the judgment in this case on Count Three

pursuant to 28 U.S.C. § 2255. Mr. Faulls’ conviction under 18 U.S.C. § 924(c)

(Count Three) must be vacated in light of the Supreme Court’s recent decision in

United States v. Davis, __S. Ct. __, 2019 WL 2570623 (June 24, 2019). The Fourth

Circuit has conclusively held in United States v. Walker, --F.3d.--, 2019 WL 3756052

(4th Cir. 2019) that the underlying offense of federal kidnapping does not qualify as

a force clause offense. Therefore, without the now-unconstitutional residual clause,

Mr. Faulls’ 60 month sentence should be vacated.

      In addition, Faulls respectfully asks the Court to set aside the judgment in

this case on Count Two pursuant to 28 U.S.C. § 2255. This conviction, for interstate

domestic violence under 18 U.S.C. § 2261(a)(2), criminalized interstate travel, with

a requisite intent, and where “in the course of or as a result of such travel or

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presence, commits or attempts to commit a crime of violence….” The relevant

definition for “crime of violence” is the same definition from 18 U.S.C. § 924(c) that

no longer contains a residual clause.

                                     BACKGROUND

       On February 12, 2014, Mr. Faulls was convicted of three counts after a trial

by jury. Count One was kidnapping in violation of 18 U.S.C. § 1201(a)(1). Count

Two was a conviction for interstate domestic violence under 18 U.S.C. § 2261(a)(2).

And finally, Count Three was using a firearm during and in relation to a “crime of

violence” in violation of 18 U.S.C. § 924(c)(1)(A).1 Specifically, the underlying “crime

of violence” for the § 924(c) charge was the kidnapping from Count One. See Jury

Verdict, ECF # 60. However, post-Davis, federal kidnapping categorically fails to

qualify as a “crime of violence.” See Walker, --F.3d.--, 2019 WL 3756052. Therefore,

Mr. Faulls is innocent of the § 924(c) offense, and his conviction is void.

       Count Two must also be vacated because the jury found that the crime of

violence at the heart of this 18 U.S.C. § 2261 offense was “aggravated sexual abuse”

under chapter 109A of Title 18. The relevant definition of “crime of violence” is

that set forth in 18 U.S.C. § 924(c)(3). Under 18 U.S.C. § 2241, aggravated sexual

abuse occurs by using force, or by threatening or placing that other person in fear

that any person will be subjected to death, serious bodily injury, or kidnapping.

Because this offense can be accomplished by threatening kidnapping (which if it




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       Mr. Lemons also pled guilty to one count of Racketeering Conspiracy in violation of 18
U.S.C. § 1962(d) (Count One).
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actually occurred is not a force clause offense), it is not a crime of violence without

the unconstitutional residual clause.

                                     ARGUMENT

      Mr. Faulls is entitled to relief under 28 U.S.C. § 2255 relief because 1) his

claims under Davis are cognizable and 2) Davis is retroactive on collateral review.

      A.     Mr. Faulls’ claims are cognizable under § 2255(a).

      Under 28 U.S.C. § 2255(a), a petitioner is entitled to relief when his original

conviction “was imposed in violation of the Constitution or laws of the United

States.” 28 U.S.C. § 2255(a). Mr. Faulls is entitled to relief on both grounds.

      First, based on all the reasons noted above, Mr. Faulls § 924(c) conviction

violates due process because it was dependent upon an unconstitutionally vague

residual clause. Likewise, his conviction for interstate domestic violence under

§ 2261 rests upon the same unconstitutionally vague residual clause.

      Second, because federal kidnapping categorically fails to satisfy the “crime of

violence” element under § 924(c), the indictment failed to state an offense under

§ 924(c), and Mr. Faulls has now been convicted of an offense that is no longer

criminal. This means his conviction violates the United States laws and results in a

miscarriage of justice. The Supreme Court has held that this is exactly the type of

error that is cognizable under 28 U.S.C. § 2255(a). See Davis v. United States, 417

U.S. 333, 346-47 (1974) (holding that when an intervening decision establishes that

a prisoner was convicted of “an act that the law [no longer] make[s] criminal,” “such

a circumstance ‘inherently results in a complete miscarriage of justice and presents

exceptional circumstances’ that justify relief under § 2255”).

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      B.     Davis is retroactive on collateral review.

      Under Teague v. Lane, 489 U.S. 288 (1989), a Supreme Court decision applies

retroactively to cases on collateral review if it announces a rule that is

“substantive.” Welch v. United States, __ U.S.__, 136 S. Ct. 1257, 1264 (2016). As

the Solicitor General has already conceded, Davis is retroactive on collateral review

because it is substantive. See Brief for the United States, United States v. Davis,

Sup. Ct. No. 18-431 (Feb. 12, 2019), at 52 (“A holding of this Court that Section

924(c)(3)(B) requires an ordinary-case categorical approach—and thus is

unconstitutionally vague—would be a retroactive substantive rule applicable on

collateral review.”) (citing Welch, 136 S. Ct. at 1264).

      The Solicitor General is correct. A decision is “substantive” if it “alters the

range of conduct or the class of persons that the law punishes.” Welch, 136 S. Ct. at

1265. This includes “constitutional determinations that place particular conduct or

persons covered by the statute beyond the State’s power to punish.” Id. (citation

omitted). For example, in Welch, the Supreme Court found that Johnson v. United

States, __ U.S. __, 135 S. Ct. 2551 (2015), was retroactive because it altered the

punishment for a class of people once subject to the Armed Career Criminal Act

(ACCA) (18 U.S.C. § 924(e)(2)(B)) who could no longer be classified as such based on

the statute’s now-defunct residual clause. Id. This reasoning applies with even

more force here. Davis not only alters sentences but renders innocent a class of



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people once subject to §924(c) liability based on predicate offenses that solely fell

within the now-defunct § 924(c) residual clause. Davis thereby alters the range of

conduct and class of persons that can be punished under § 924(c). Therefore, Davis

is retroactive.

                                   CONCLUSION

       For the reasons set forth above, Mr. Faulls respectfully supplements his

existing § 2255 petition and asks this Court to vacate his § 924(c) conviction on

Count Three, and his interstate domestic violence conviction on Count Two. He

should thereafter be resentenced on Count One.

                                  Respectfully submitted,

                                  THOMAS EARL FAULLS

                                  By Counsel

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                            CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the following: counsel of record; and I hereby certify that I have

mailed by United States Postal Service the document to the following non-CM/ECF

participants: none.


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                                   s/ Lisa M. Lorish
                                 Asst. Federal Public Defender




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